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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                )   Criminal No. 23-cr-63(1) (KMM/DJF)
                                         )
                           Plaintiff,    )
       v.                                )   DEFENDANT'S MOTION FOR
                                         )   CONTINUANCE
VATTHANA ANDY                            )
SENGSOURIYA,                             )
                                         )
                         Defendant.      )


      Defendant, by and through his attorney, hereby respectfully moves the Court for a

continuance on the following grounds: the parties are in the midst of a complicated

resolution and need more time to finalize a plea agreement.

      Pursuant to 18 U.S.C. § 3161(h)(1), the period of continuance should be excluded

from the computation of the Speedy Trial Act.

      For the above reasons, I am requesting that the jury trial and arraignment hearing be

continued for 30 days.

Dated: May 10, 2023                          Respectfully submitted,

                                             s/ Jean M. Brandl

                                             JEAN M. BRANDL
                                             Attorney ID No. 0387260
                                             Attorney for Mr. Sengsouriya
                                             107 U.S. Courthouse
                                             300 South Fourth Street
                                             Minneapolis, MN 55415
